Case 8:11-cv-00325-JDW-TBM Document 15 Filed 10/18/11 Page 1 of 1 PageID 38




                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JESSICA L. LIVINGSTON,

       Plaintiff,

v.                                                         Case No. 8:11-cv-00325

POLLACK & ROSEN, P.A.,

      Defendant.
_________________________/

                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES NOW, the plaintiff, by and through her undersigned counsel, voluntarily

discontinuing the above entitled action, and dismissing her Complaint with prejudice.

                                                    Respectfully submitted,

                                                     /s/ Joseph B. Battaglia
                                                    Joseph B. Battaglia, Fla. Bar No.: 0058199
                                                    joe@brandonlawyer.com
                                                    THE GOLDEN LAW GROUP
                                                    808 Oakfield Drive, Suite A
                                                    Brandon, Florida 33511
                                                    Telephone: (813) 413-8700
                                                    Facsimile: (813) 413-8701
                                                    Attorney for Plaintiff

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 18th day of October 2011, a true and correct copy of

the foregoing has been provided via CM/ECF, to those parties registered to receive such notice.

                                                    /s/ Joseph B. Battaglia
                                                    Joseph B. Battaglia, Fla. Bar No.: 0058199
